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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

UNITED STATES OF AMERICA, INDICTMENT

Plaintiff,

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) |
V  cncew 4225 CR 00183
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)

Title 21, United States Code,
Section 841(a)(1), (b)(1)(B), and
(b)(1)(C)

JUDGE CALABRESE
COUNT 1

(Possession with Intent to Distribute Cocaine, 21 U.S.C, §§ 841 (a)(1) and (b)(1)(C))

ROBERT DANIELS,

Defendant.

The Grand Jury charges:

1. On or about May 7, 2024, in the Northern District of Ohio, Eastern Division,
Defendant ROBERT DANIELS did knowingly and intentionally possess with intent to distribute
a mixture and substance containing a detectable amount of cocaine, a Schedule IT controlled
substance, in violation of Title 21, United States Code, Sections 841(a){1) and (b)(1)(C).

COUNT 2
(Possession with Intent to Distribute Cocaine and Fentanyl,
21 ULS.C. §§ 841(a)(1) and (b)G1)(C))
The Grand Jury further charges:

2. On or about May 7, 2024, in the Northern District of Ohio, Eastern Division,
Defendant ROBERT DANIELS did knowingly and intentionally possess with intent to distribute
a mixture and substance containing detectable amounts of cocaine, a Schedule IT controlled

substance, and fentanyl, a Schedule IJ controlled substance, in violation of Title 21, United States

Code, Sections 841(a)(1) and (b)(1}(C).
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COUNT 3
(Possession with Intent to Distribute Fentanyl, 21 U.S.C. §§ 841(a)(1) and (b)C1)(B)}

The Grand Jury further charges:

3, On or about May 7, 2024, in the Northern District of Ohio, Eastern Division,
Defendant ROBERT DANIELS did knowingly and intentionally possess with intent to distribute
40 grams of more of a mixture and substance containing a detectable amount of fentanyl, a

Schedule IT controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1)

and (b)(1)(B).
COUNT 4
(Possession with Intent to Distribute Fentanyl and Methamphetamine, 21 U.S.C. §§ 841 (a)(1)
and (b)(1)(B))

The Grand Jury further charges:

4, On or about May 7, 2024, in the Northern District of Ohio, Eastern Division,
Defendant ROBERT DANIELS did knowingly and intentionally possess with intent to distribute
40 grams of more of a mixture and substance containing detectable amounts of fentanyl, a
Schedule [I controlled substance, and methamphetamine, a Schedule II controlled substance, in
violation of Title 21, United States Code, Sections 841(a)(1) and (6)(1)(B).

FORFEITURE
The Grand Jury further charges:

5. For the purpose of alleging forfeiture pursuant to Title 21, United States Code,
Section 853, the allegations of Counts | through 4 are incorporated herein by reference. Asa
result of the foregoing offenses, Defendant ROBERT DANIELS shall forfeit to the United States

any and all property constituting or derived from any proceeds he obtained directly or indirectly
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as a result of such violations; any and all of his property used or intended to be used in any
manner or part to commit or to facilitate the commission of such violations; including, but not

limited to, the following: $2,097.00 in U.S. Currency seized on May 7, 2024.

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.
